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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

TV TOKYO CORPORATION,                                           )
                                                                )   Case No. 24-cv-2710
             Plaintiff,                                         )
                                                                )   Judge John J. Tharp, Jr.
v.                                                              )
                                                                )
THE PARTNERSHIPS AND                                            )
UNINCORPORATED ASSOCIATIONS                                     )
IDENTIFIED ON SCHEDULE “A”,                                     )
                                                                )
             Defendants.                                        )

        PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS

             Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff TV TOKYO
     CORPORATION hereby dismisses with prejudice all causes of action in the complaint as to the
     Defendants identified below and in Schedule A. No motions are pending relative to these Defendants.
     Each party shall bear its own attorney's fees and costs.
             No.      Defendant
             43       A1T2EAO0198QKY
             46       A1MUW5TVF03MTU
             68       ASZ0AM8AFO0M6
             74       A39P5GL9OL5ZUL
             79       A2EMA7ENGRRAYZ
             143      A3APMHZXR8B3D
             151      AANLWOPG94CUG
             187      A38FDG6YGJ5SXB
             209      A6U5ETO7C02I3
             211      A3SDX0Y2U8XLUS
             214      ATIBOOP267BIW
             239      A1W7DF6O1ZPUCU

             The respective Defendants have not filed an answer to the complaint or a motion for summary
     judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
     appropriate.
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                                     Respectfully submitted,

Dated: May 14, 2024                  By:    s/Michael A. Hierl              _
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                                            William B. Kalbac (Bar No. 6301771)
                                            Robert P. McMurray (Bar No. 6324332)
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                                            Attorneys for Plaintiff
                                            TV TOKYO CORPORATION
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on May 14, 2024.



                                                          s/Michael A. Hierl
